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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

 UNITED STATES OF AMERICA, et al.,                 )
                                                   )
                                                   )
         Plaintiff,                                )
                                                   )
 v.                                                )      The Honorable Liam O’Grady
                                                   )
 KIM DOTCOM, et al.,                               )      12 CR 3
                                                   )
                                                   )
         Defendants.                               )



  [PROPOSED] PROTECTIVE ORDER FOR THE BENEFIT OF NON-PARTY QTS
  REALTY TRUST, INC., SUCCESSOR-IN-INTEREST TO CARPATHIA HOSTING,
                                 INC.

       In consideration of the motion and supporting documents filed by QTS Realty Trust, Inc.

(“QTS”),

       It is hereby ORDERED that Megaupload has thirty days to take possession of the

computer servers or copy the data, at Megaupload’s expense, after which QTS is permitted to

destroy the servers.



Dated: August         , 2015


                                             Judge Liam O’Grady
                                             United States District Court Judge
